      Case 1:24-mj-00367-ZMF           Document 1-1       Filed 11/26/24      Page 1 of 10




                                  STATEMENT OF FACTS

        Your affiant,               , is a Special Agent assigned to the domestic terrorism squad,
Birmingham, Alabama field office of the Federal Bureau of Investigation. In my duties as a Special
Agent, I conduct investigations related to domestic terrorism and related criminal violations.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a government agency to engage
in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
      Case 1:24-mj-00367-ZMF           Document 1-1        Filed 11/26/24      Page 2 of 10




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Following the events of January 6, 2021, the FBI identified an unknown subject (AFO
#368) participating in the Capitol riot. Image 1, consisting of three photos from an FBI “Be on the
Lookout” notice, depicted the subject among the mob wearing a black jacket, tan cargo pants, a
black hoodie, a black hat, a green scarf and a GoPro camera, or similar device, on his right
shoulder, was publicized in an effort to identify the person. As described in further detail below,
AFO #368 was identified as Robert James Bonham (“Bonham”) of Alabaster, Alabama.




          Image 1: FBI “Be on the Lookout” notice of Bonham from January 6, 2021.




Image 2: Open source posting requesting information about Bonham (identified online as “FBI
                  368-AFO” and “#StarsNGripes”) following January 6.
      Case 1:24-mj-00367-ZMF           Document 1-1        Filed 11/26/24      Page 3 of 10




        The FBI collected video footage and photos showing Bonham’s actions on January 6, 2021,
at the U.S. Capitol grounds. At approximately 2:32 p.m. – nearly five minutes after rioters initially
breached a police line that extended across the Capitol’s West Front – police Body Worn Camera
(“BWC”) footage captured Bonham, holding a flagpole with an affixed American flag, approach
a group of officers on the southwest side of the Upper West Plaza. (Image 3,4, and 5). At this time
and location, the video footage shows that officers on the Upper West Plaza were retreating toward
the Capitol as they simultaneously attempted to forestall the flood of rioters moving deeper onto
Capitol grounds.




   Image 3: Image, excerpted from BWC footage, of Bonham, circled in red, appearing near the
                      retreating line of officers on the Upper West Plaza.




  Image 4: Image, excerpted from BWC footage, of Bonham, outlined in red, holding a flagpole
                           near officers on the Upper West Plaza.
      Case 1:24-mj-00367-ZMF           Document 1-1        Filed 11/26/24      Page 4 of 10




 Image 5: Image, excerpted from BWC footage, of Bonham, outlined in red, directly in front of
                    officers holding a flagpole on the Upper West Plaza.

        At approximately 2:33 p.m. officers commanded Bonham and other rioters to “move
back!” Bonham did not comply. Instead, Bonham lifted the flagpole and extended it forward
toward an officer in an apparent attempt to stab the officer with the flagpole. By extending the flag
into the officer, Bonham forcibly assaulted the officer and interfered with the performance of his
duties. (Image 6,7, 8, and 9)




  Image 6: Image, excerpted from BWC footage, of Bonham (red square) pointing the flagpole
                 toward an officer (yellow square) on the Upper West Plaza.
    Case 1:24-mj-00367-ZMF        Document 1-1      Filed 11/26/24     Page 5 of 10




Image 7: Image, excerpted from BWC footage, of Bonham (red square) extending the flagpole
                                  toward an officer.




Image 8: Another image, excerpted from BWC footage, of Bonham (red square) extending the
                  flagpole (blue circle) toward an officer (yellow square).
      Case 1:24-mj-00367-ZMF         Document 1-1      Filed 11/26/24     Page 6 of 10




 Image 9: Image, excerpted from BWC footage, of Bonham (red square) appearing to thrust the
                                  flagpole into officers.

        In response, the victim officer immediately grabbed the flagpole with his left hand. A
confrontation between Bonham and officer ensued as the officer attempted to disarm Bonham of
the flagpole. (Image 10, 11, and 12)




 Image 10: Image, excerpted from BWC footage, of the victim officer (yellow square), grabbing
                    the flagpole (blue circle) from Bonham (red square).
      Case 1:24-mj-00367-ZMF         Document 1-1       Filed 11/26/24     Page 7 of 10




 Image 11: Another image, excerpted from BWC footage, of the victim officer (yellow square),
     grabbing the flagpole (blue circle) as he attempted to disarm Bonham (red square).




Image 12: Another image, excerpted from BWC footage, of the victim officer, another rioter, and
                Bonham (red square) fighting over the flagpole (blue circle).

       Immediately thereafter, additional officers approached Bonham and attempted to take the
flagpole from him. (Image 13). Simultaneously, BWC captured other officers shout “let it go!” at
Bonham as they commanded him to relinquish control of the makeshift weapon. Bonham
responded by yelling, “no!” Several seconds later, Bonham gained control over the flagpole and
returned to the mob.
      Case 1:24-mj-00367-ZMF           Document 1-1        Filed 11/26/24     Page 8 of 10




  Image 13: Another image, excerpted from BWC footage, of additional officers attempting to
                               disarm Bonham (red circle).

        After January 6, 2021, the FBI received a tip that the individual described above was Robert
James Bonham of Alabaster, Alabama. The tipster reported that they personally knew Bonham
and had spoken with Bonham about his activities at the Capitol on January 6, 2021. The FBI
subsequently reviewed social media posts and pictures provided by the tipster of Bonham wearing
clothing matching the clothing worn by Bonham on January 6, 2021. The FBI also identified
photos of Bonham wearing what appears to be the same “3% Club” hat that Bonham wore at the
Capitol on January 6, 2021. (Image 14 and 15). The tipster also recognized the scarf Bonham wore
at the Capitol on January 6, 2021.




Image 14: Picture from Bonhams’ Facebook profile of Bonham wearing a black “3% Club” hat,
                the same hat Bonham wore to the Capitol on January 6, 2021.
      Case 1:24-mj-00367-ZMF           Document 1-1       Filed 11/26/24      Page 9 of 10




  Image 15: Additional photos of Bonham wearing the same “3% Club” hat matching the hat
                      Bonham wore to the Capitol on January 6, 2021.




  Image 15: Open-source photo of Bonham wearing a scarf like the scarf Bonham wore at the
                               Capitol on January 6, 2021.

        Based on the foregoing, your affiant submits there is probable cause to believe that Bonham
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
     Case 1:24-mj-00367-ZMF            Document 1-1       Filed 11/26/24      Page 10 of 10




function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.

        I submit there is also probable cause to believe that Bonham violated 18 U.S.C. § 111(a)(1),
which makes it a crime to forcibly assault, resist, oppose, impede, intimidate, or interfere with any
person designated in section 1114 of Title 18 while engaged in or on account of the performance
of official duties, where such acts involve physical contact with the victim or the intent to commit
another felony. Persons designated within section 1114 of Title 18 include federal officers such as
USCP officers, and include any person assisting an officer or employee of the United States in the
performance of their official duties.

        I further submit there is probable cause to believe that Bonham violated 18 U.S.C. §
1752(a)(1), (2), and (4) which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do so; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; (4) knowingly engages in any act of physical violence against any person or
property in any restricted building or grounds; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Bonham violated 40 U.S.C.
§ 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.



                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 26th day of November 2024.

                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
